Case No. 1:19-cv-00872-MEH Document 382 filed 05/14/24 USDC Colorado pg 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

 Civil Action No. 19-cv-00872-MEH

 CHASE MANUFACTURING, INC. d/b/a THERMAL PIPE SHIELDS,

         Plaintiff,

 v.

 JOHNS MANVILLE CORPORATION,

         Defendant.


                                         FINAL JUDGMENT


         Pursuant to and in accordance with Fed. R. Civ. P. 58(a) and the orders entered in this case,

 FINAL JUDGMENT is entered.

         This matter was tried before a jury of eight (8), duly sworn to try the issues herein with Chief

 United States Magistrate Judge Michael E. Hegarty presiding, and the jury has rendered a verdict.

 Pursuant to the jury’s verdict at ECF 363 and redacted at ECF 362, it is

         ORDERED that final judgment is entered IN FAVOR of PLAINTIFF, Chase Manufacturing,

 Inc. doing business as Thermal Pipe Shields, and AGAINST DEFENDANT, Johns Manville

 Corporation, on Plaintiff’s monopolization claim in the amount of $20,352,126.00, which is three times

 the amount of the jury’s award of $6,784,042.00, under the Sherman Act, 15 U.S.C. § 15(a). It is further

         ORDERED pursuant to D.C.COLO.LCivR 54.1, Plaintiff, as the prevailing party, shall submit

 its bill of costs within fourteen days of entry of this Judgment.




                                                     1
Case No. 1:19-cv-00872-MEH Document 382 filed 05/14/24 USDC Colorado pg 2 of 2




 Dated at Denver, Colorado, May 14, 2024.

                                                FOR THE COURT:
                                                JEFFREY P. COLWELL, CLERK

                                                s/Christopher Thompson
                                                Christopher Thompson
                                                Deputy Clerk




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